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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

       v.                                           Case No. 21-cr-378-TJK-4

 KEVIN A. TUCK,

            Defendant.

                    GOVERNMENT’S SENTENCING MEMORANDUM

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Kevin A. Tuck to 10 months’ imprisonment, 12 months’ supervised release,

restitution in the amount of $500, and the mandatory assessment of $25. The government

recommends a four-month upward variance because Kevin Tuck, who was a sworn police officer

at the time of January 6, 2021, planned and coordinated with others for weeks in advance to disrupt

the Electoral College certification process with which he was intimately familiar—and then acted

in accordance with those plans, leading his compatriots in collective pushes to breach police lines

and enter the Capitol, making it to the gallery of the Senate Chamber, and forcing lawmakers into

hiding. As a police officer in Florida, Kevin Tuck was entrusted with the power to enforce the

criminal laws. On January 6, 2021, in Washington, D.C., instead of using his training and power

to promote the public good, he intentionally obstructed the constitutionally mandated procedure

for the peaceful transfer of power for the first time in American history, and a meaningful term of

incarceration is necessary to address the unique set of circumstances presented here.


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    I.      INTRODUCTION

         As set forth in the Statement of Offense (ECF No. 214), then-police officer Kevin Tuck,

along with his adult son Nathaniel Tuck, prepared for and then engaged in persistent efforts to

interfere with police at the Capitol and disrupt the Electoral College certification on January 6.

The Tucks prepared for and took these actions as part of a hand-selected group of Proud Boys

members 1 that openly discussed its plans for violence at the Capitol and intention to confront

police who might try to stand in their way. Kevin Tuck also discussed details of the Electoral

College certification procedure on family text messages and advocated preparations for “war,”

including procuring communications equipment for his Proud Boys chapter and securing “More

food” and “More Ammo.”

         On January 6, the Tucks and their associates followed through on their plans, and the Tucks

were at the forefront of the breach of the Capitol building during several critical moments. They

were among the first wave of rioters who entered Capitol grounds after the breach of Capitol

grounds at 12:53 p.m. They watched rioters assaulting police officers on the West Plaza for

approximately 45 minutes, and they took action when the crowd eventually overwhelmed officers

to push up the scaffolding and to the Upper West Terrace. Specifically, the Tucks and their co-

defendant Arthur Jackman made their way to the east side of the building. While en route, they

encountered co-defendant Edward George, Jr., and the group continued toward the east side of the

Capitol.




1
  As discussed herein and set forth fully in the Statement of Offense (ECF No. 211), the Ministry
of Self Defense (“MOSD” was a hand-selected group of “rally boys” who vowed to follow the
commands of leadership.

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       At approximately 2:16 p.m., the group made a collective push to breach a police line

attempting to stop the crowd from advancing to the building. They ultimately succeeded. They

then approached the Senate Carriage Door at approximately 2:18 p.m., where the group attempted

to enter through a door where police officers were attempting to remove rioters from inside the

building. When only Nathaniel Tuck was successful, Kevin Tuck, George, and Jackman reunited

with fellow Proud Boys Joe Biggs and Paul Rae on the east side of the building. The group joined

together in a stack formation, with Kevin Tuck in the lead once more, and pushed through the

crowd of rioters and officers to enter the Capitol through the Rotunda Door. Once inside, they

climbed a nearby staircase and moved toward the Senate wing of the building. Kevin Tuck made

it all the way to the gallery of the Senate Chamber—a place where he knew that Congress was

supposed to be meeting, at that very time, to certify the results of the 2020 presidential election.

       After leaving the building at approximately 2:53 p.m., Kevin Tuck posed for a celebratory

photograph on Capitol grounds with his co-defendants and other Proud Boys, together with an

American flag George and Jackman had stolen from a corridor near the Senate Gallery. Kevin

Tuck then bragged in a text message conversation with family members that the group had

“stormed the capital [sic]” and taken the flag—“It’s our flag. The people’s flag.” In March 2021,

in text messages with his son about FBI investigations into other Proud Boys, Kevin Tuck stated,

“We may lose this battle but we will win the war,” and “whether it’s violence or whether it’s in

the court system we will win.”

       Kevin Tuck’s rampage on January 6 had a purpose: He breached the Capitol grounds and

building, making it all the way to the Senate Gallery, and interfered with officers’ attempts to stop

the crowd’s advance because he intended to obstruct the Electoral College certification and


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police’s efforts to defend the building. And Tuck took these actions in concert with others who

shared in his criminal purpose, including his son and remaining three co-defendants in this case.

Together, they carried out and celebrated these actions as part of a larger group of Proud Boys who

espoused the same objectives. See United States v. Ethan Nordean, et al., No. 21-cr-175 (TJK) at

ECF No. 855-2 (Gov’t Sentencing Memorandum for Ethan Nordean) and ECF No. 855-3 (Gov’t

Sentencing Memorandum for Joseph Biggs); United States v. Fonticoba, No. 21-cr-638 (TJK) at

ECF No. 57 (Gov’t Sentencing Memorandum for Gilbert Fonticoba).

        For the reasons outlined herein, Tuck’s calculated and coordinated conduct on January 6

warrants the imposition of a meaningful upward variance from the applicable Guidelines range.

Accordingly, the government recommends that the Court sentence Kevin Tuck to 10 months of

incarceration for his conviction of violating 18 U.S.C. § 1752(a)(1).

   I.      FACTUAL BACKGROUND

        The government refers the court to the Statement of Offense filed in this case, ECF No.

211, for a short summary on the January 6, 2021 attack on the United States Capitol by hundreds

of rioters in an effort to disrupt the peaceful transfer of power after the November 3, 2020

presidential election.

                                           Kevin Tuck

        Kevin Tuck is a 52-year-old resident of Florida and former police officer. In December

2020, Kevin Tuck rejoined the Proud Boys organization after a period away from the group. When




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he rejoined, Kevin Tuck became a member of the “Space Coast” chapter in central Florida, which

was the home chapter of Joe Biggs, Arthur Jackman, and his son, Nathaniel Tuck.

       The Proud Boys describes itself as a “pro-Western fraternal organization for men who

refuse to apologize for creating the modern world; aka Western Chauvinists.” Proud Boys

members routinely attend rallies, protests, and other events, some of which have resulted in

violence involving members of the group. There is an initiation process for new members of the

Proud Boys, and members often wear black and yellow polo shirts or other apparel adorned with

Proud Boys logos and slogans to public events.

       Through at least January 6, 2021, Enrique Tarrio was the national chairman of the Proud

Boys organization. Throughout the United States, there are local Proud Boys chapters, which are

typically led by chapter “presidents.” Each chapter has a degree of autonomy insofar as the

president of a local chapter governs that chapter in its geographic location.

                 Kevin Tuck’s Plans to Travel to Washington, D.C. on January 6

       In the period between the November 3, 2020 U.S. Presidential Election and January 6,

2021, Kevin Tuck made a number of statements in text messages reflecting his belief that the

Presidential Election had been stolen as the result of fraud. On November 4, 2020, Kevin Tuck

expressed to a group message of family members: “I don’t want you all to worry. There is a bunch

of election fraud going on and we will get to the bottom of it. In the end Donald Trump will be our

president.” He added, “Biden nor Harris will be President of this Country. Mark my words. The

democrats have screwed themselves by trying to steal an election from the one man that would

burn DC to the ground now to expose them. Lol. The left has no clue what they did or what’s

coming.. Lol.”


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         On December 15, 2020, Kevin Tuck sent a text message stating “This just in: From

Trump’s Lawyer” to family members, and included a lengthy quotation about the details of the

certification process, including in part:

         On January 6th, […] Vice President Mike Pence will have all the authority as president of
         the Senate for that day and will accept or reject motions to decide the next steps by the
         assembly.

         Remember... Mike Pence is in full authority that day as written in the Constitution. The
         ballots will be certified today but that means nothing...

         […]

         The House and Senate will divide for two hours (at least) to debate, then vote. The vote
         will be per Senator with the Vice President being the deciding vote if needed in the Senate,
         while the vote in the House will be only be ONE vote per delegation, per state, not per
         House member!!! The Republicans have 30 delegation votes compared to the Democrats
         20 delegation votes.

         If this scenario runs true, President Trump gets re-elected.



From these and other communications, Kevin Tuck knew that Vice President Pence would be at

the Capitol on January 6 for the certification of the Electoral College vote.

         On December 16, 2020, Kevin Tuck told his son Nathaniel Tuck via text message that

“War is here” and “We need to talk about a few things.” Kevin Tuck listed actions to be

undertaken, including procuring “Some short wave or Long wave radio that every chapter needs

to have” to communicate in case of phone or internet outages; “gathering intelligence on where

these people that are causing these problems live. So we can take them out. RWDS” 2 ; and

procuring “More food” and “More Ammo.”




2
    “RWDS” is an acronym that stands for “Right Wing Death Squad.”
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        On December 19, 2020, then President Trump announced plans for a Stop the Steal protest

event in Washington, D.C., on January 6, 2021, which date coincided with Congress’s Certification

of the Electoral College vote. That same day, Kevin Tuck and his son Nathaniel discussed traveling

between January 5 and January 7, 2021, to attend “another million mega march in Washington

D.C.”

        Tarrio and a handful of other members of the Proud Boys created a new chapter for the

Proud Boys that would consist of members from across the country. The new chapter was referred

to as the Ministry of Self Defense or MOSD (“MOSD”). Tarrio described the MOSD as a “national

rally planning” chapter that would include only “hand selected members.” On December 27, 2020,

Kevin Tuck was invited to join the MOSD by Joe Biggs, another member of the Proud Boys

leadership.

        In messages exchanged among members of the MOSD on Telegram, in which Kevin Tuck

participated using Telegram Account ID# 954063759 and the moniker “Pit Bull”, members

discussed the potential for violence at the Capitol on January 6. On January 3, 2021, the following

exchange took place in the “Ministry of Self-Defense – MAIN”:


        Gabriel PB:   1776 flag flying over the White House last night.

        The Vidivic: ?

        John Rackham:         Gonna be war soon ……

        Gabriel PB:   Yes Sir time to stack those bodies in from of Capitol Hill

                                                    […]




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       E-Geezy
       [Edward George, Jr]:




                                                   […]

       BrotherHunter
       Jack Phillips: Also this ☝. So are the normies and “other” attendees going to push thru
                      police lines and storm the capitol buildings? A few million vs A few
                      hundred coptifa should be enough. I saw a few normie groups rush through
                      police lines on the 12th.

       Deplorable51: cue the music…….“let the bodies hit the floor let the bodies hit the floor
                     �”

       Later on January 3, 2021, a different MOSD member posted a video message in which he

remarked that the people effecting the stolen election had been “caught” and that by persisting,

they were “gonna make the whole country stand up and fuckin’ do bad things to bad people.”

       On January 4, 2021, members of the MOSD exchanged additional messages that discussed

attacking the Capitol on January 6, 2021. One MOSD member posted, “what would they do [if] 1

million patriots stormed and took the capital building. Shoot into the crowd? I think not.” In

response, one of the leaders of the MOSD wrote, “They would do nothing because they can do

nothing.”

       Messages were subsequently posted on Telegram that advised Proud Boys in Washington,

D.C. to meet at the Washington Monument at 10 a.m. on January 6. Participants in the MOSD

Telegram group were told that “[Ethan Nordean] is in charge, cops are the primary threat, don’t


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get caught by them or BLM, don’t get drunk until off the street.” Members were told not to wear

Proud Boys colors and instead to “[c]ome out [] as patriot!”

                Kevin Tuck’s Participation in the January 6, 2021 Capitol Riot

       Kevin Tuck and his son, Nathaniel Tuck, traveled from central Florida to Washington, D.C.

together with Proud Boys Arthur Jackman and Joe Biggs. The group stayed in a rental unit together

on the evening of January 5, 2021. On the morning of January 6, 2021, the Tucks traveled to the

National Mall with Jackman and Biggs and met a group of approximately one hundred Proud Boys

members near the Washington Monument shortly after 10 a.m. As instructed, Kevin Tuck did not

wear any Proud Boys colors. Kevin Tuck wore a black sweatshirt with the hood up, a black

baseball cap worn backwards over the hood, a black jacket on top, and blue jeans. He also wore a

black medical face mask at times.

       Shortly after 10 a.m., Proud Boys Ethan Nordean and Joseph Biggs marched the group

away from the rally that was taking place near the Washington Monument. Nordean announced to

the group that they were going to march to the Capitol. As the group marched toward the Capitol,

Nordean and Biggs addressed the men, including the Tucks, through a megaphone—telling them

that in their view the police and government had failed them. As the group walked past the west

side of the Capitol at approximately 11:20 a.m.—more than an hour before the initial breach—

Nordean announced, “We represent the spirit of 1776. If you haven’t noticed, real men are here.

We know what the oath is [unintelligible] to support and defend the Constitution . . . Let us remind

those who have forgotten what that means.” A few minutes later, as the group marched past U.S.

Capitol Police officers at approximately 11:28 a.m., Biggs gave the group of officers the middle




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finger, and the men marching with Biggs taunted them, yelling “treason,” and warning the officers,

“don’t make us go against you.”

       The marching group, including the Tucks, continued to the east side of the Capitol. Shortly

before noon, Nordean and Biggs led the marching group back to the west side of the Capitol to a

group of food trucks located at approximately 2nd Street and Constitution Avenue NW, arriving

at approximately 12:10 p.m. There the group stopped and waited for approximately thirty minutes.

At approximately 12:45 p.m., fifteen minutes before the certification of the Electoral College vote

was scheduled to start, Nordean mustered the men into a column and marched them back towards

the Capitol.




Figure 1: The Tucks gather at the food trucks at 2nd Street and Constitution Avenue NW before
                              proceeding onto Capitol Grounds.
       Nordean led the marching group to an area known as the Peace Circle, at the edge of the

restricted portion of Capitol grounds, at approximately 12:50 p.m. Before their arrival, the Peace

Circle was uncrowded and relatively peaceful. The First Street pedestrian entrance to the Capitol

grounds, which was approximately 100 feet away, was guarded by a handful of Capitol Police
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officers. Prominent signs posted on metal barriers at the pedestrian entrance and other locations

stated, “AREA CLOSED By order of the United States Capitol Police Board.” Upon arriving at

the Peace Circle, Biggs led the crowd in chants that included “USA!,” “Where’s Antifa”, and

“Whose Capitol? Our Capitol!”

        At 12:53 p.m., approximately one minute after Biggs led the “Whose Capitol? Our

Capitol!” chant, the crowd surged forward towards a police barricade and quickly overwhelmed

the line of officers. The crowd trampled the barricades and advanced toward the Capitol building.

Kevin Tuck walked onto Capitol grounds as part of the advancing crowd. He understood that he

was not permitted to be on Capitol grounds.

        At approximately 12:58 p.m., Kevin Tuck advanced into the West Plaza with his son and

Jackman. By approximately 1:00 p.m., the group made their way to the front of the crowd and

stood opposite a line of officers in riot gear.




          Figure 2: The Tucks and Jackman standing opposite police on the West Plaza.
        The Tucks remained on the West Plaza for approximately 45 minutes. From his position in

the crowd, Kevin Tuck saw rioters assault police using chemical spray and hand-to-hand violence.
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       At approximately 1:45 p.m., a group of Proud Boys assembled near the base of a set of

concrete stairs on the West Plaza. The stairs led to the Upper West Terrace, which abutted the

Capitol building and many doors and entrances to that building. A small group of outnumbered

officers guarded the entrance to the stairs. One of the Proud Boys who had marched with the Tucks

and the other Proud Boys to the Capitol shoved two officers, driving them up the stairs. Almost

instantaneously thereafter, the crowd overwhelmed the officers and moved up the scaffolding.

Shortly thereafter, the Tucks reunited with Nordean, Biggs, and Jackman on the lawn just north of

the concrete stairs and scaffolding. From that position, Kevin Tuck watched as the crowd

eventually overwhelmed the line of officers and surged through the scaffolding and up the concrete

stairs toward the Capitol building. Seeing the crowd advance toward the building, Paul Rae and

Biggs rushed back to the concrete stairs in an attempt to advance to the Capitol. The Tucks

remained on the lawn with Jackman.

       The Tucks and Jackman began to move to the east side of the building by walking on the

lawn around the north side of the Capitol building. The Tucks and Jackman reunited with Proud

Boy Edward George, Jr. on the north lawn.




Figure 3: The Tucks and Jackman traveling to the east side of the Capitol along the north lawn.
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       The group continued toward the east side of the Capitol where they encountered a line of

officers who were attempting to stop the crowd from advancing to the building. At approximately

2:16 p.m., the group attempted to breach the line of officers. In the image below, Kevin Tuck can

be near the front of the group as officers attempted to stop the crowd from advancing. See also Ex.

A at 00:00.




Figure 4: Tuck at the front of the group breaching a police line on the north side of the Capitol;
                         screenshot of Ex. A at 00:00 (i.e., first frame).
The crowd breached the police line, and Kevin Tuck advanced toward the Capitol building with

his son, George, and Jackman.

       Jackman, George and the Tucks attempted to enter the Capitol building near the Senate

Carriage Door at approximately 2:18 p.m. United States Capitol Police officers gave verbal

commands and attempted to physically deter the crowd from entering the building. Kevin Tuck

was near the front of the crowd and understood that officers were attempting to stop the crowd
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from entering the building. Nathaniel Tuck successfully entered the building; Kevin Tuck and the

others were repelled.

       Kevin Tuck, George, and Jackman then reunited with Biggs and Rae on the east side of the

Capitol. The group climbed the stairs near the Columbus Doors and joined the large crowd of

rioters on the east terrace of the Capitol building. The group posed for a selfie.




                                 Figure 5: Tuck circled in yellow.
       Officers on the east side of the building attempted to stop the crowd from breaching the

building near the Columbus Doors. Shortly before 2:40 p.m., the crowd sang the National Anthem.

Ex. B at 0:00 – 0:54. As the anthem ended, the crowd began to violently attack the handful of

officers at the Columbus Doors. Id. at 0:54 – 1:45. The rioters eventually overwhelmed the officers

at the doors and the doors were forced open. Id. at 3:30. Kevin Tuck, Biggs, Jackman, and George

formed a stack and moved through the crowd toward the doorway. Ex. C at 0:03 – 0:13. Individuals

can be heard yelling, “Let ‘em through” and “Make a hole.” Id. At approximately 2:40 p.m., Kevin
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Tuck pushed into the Capitol through the Columbus Doors as part of a stack with Jackman, Biggs,

and George. A loud alarm was audible in the doorway. See Ex. B at 5:40 (Kevin Tuck, Biggs, and

Jackman are visible at the bottom of the frame). Kevin Tuck understood that he was not permitted

to enter the building, and he understood that the Capitol building was restricted to allow Vice

President Pence and the members of Congress to certify the results of the 2020 Presidential

Election.




            Figure 6: Kevin Tuck entering the Capitol at the head of a stack formation.
       Kevin Tuck climbed the stairs to the second floor of the Capitol building in stack formation

with Jackman and George, as well as Biggs. As they climbed the stairs, the crowd around the group

was chanting “treason!” See Ex. D.




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Figure 7: Kevin Tuck (circled in yellow) advancing up the stairs at the head of a stack formation.
       After reaching the second floor, Kevin Tuck walked down a corridor as the crowd around

him continued to chant and bang on doors. Kevin Tuck then entered the gallery of the Senate

Chamber at approximately 2:43 p.m. with Biggs, Jackman, and George. See Ex. E (Jackman,

Biggs, and George are visible at 0:30). The group remained in the gallery of the Senate for

approximately two minutes. Kevin Tuck exited the Capitol Building with Biggs, Jackman, and

George at approximately 2:53 p.m. through the Senate Carriage Door.

       After exiting the building, Kevin Tuck reunited with other Proud Boys on the lawn of the

Capitol. Kevin Tuck posed for a celebratory photograph on Capitol grounds with Biggs, Nordean,

Jackman, Nathaniel Tuck, and George. In the photograph, below, Rae can be seen holding an

American flag that George and Jackman had stolen from a corridor near the Senate Gallery.




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                             Figure 8: Kevin Tuck circled in yellow.
       On January 6, 2021, in a text message conversation with family members, Kevin Tuck

stated, “We stormed the capital.” Nathaniel Tuck added, “Fought the police.” Kevin Tuck also told

his family members about the group’s theft of a flag from the Senate, sharing a picture of the flag

and stating, “We took the flag” and “It’s our flag. The people’s flag.”

                          Kevin Tuck’s Conduct After January 6, 2021

       After the attack on the Capitol on January 6, 2021, the FBI began investigating and

arresting participants in the Capitol riot, including Proud Boys. On January 20, 2021, Joe Biggs

was arrested. Kevin and Nathaniel Tuck discussed Biggs’s arrest in text messages. Kevin Tuck

stated, “I hope he doesn’t tell them about me.” Nathaniel stated, “The article says the fbi says

‘Biggs was seen entering with several other Proud boys who were in disguise’ . . . You had a mask

the whole time. You’re fine. Only way is if Biggs’ identifies you but he is not a snitch.”



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          On March 19, 2021, while discussing the criminal charges that had been filed against Biggs

and others, Kevin and Nathaniel Tuck again discussed the investigations by text message.

Nathaniel Tuck stated that he thought FBI was “overcharging” Proud Boys. Kevin Tuck stated, in

part, “We may lose this battle but we will win the war. We will be able to sue after.” Nathaniel

Tuck responded, in part, “Politics won’t save us. Violence is the only way we will win.” To which

Kevin Tuck responded: “‘Stand back and stand by’ you will see that[.] Whether it’s violence or

whether it’s in the court system we will win.”

   II.       THE CHARGES AND PLEA AGREEMENT

          On May 29, 2024, a federal grand jury returned a Third Superseding Indictment charging

Kevin Tuck with six counts: violations of 18 U.S.C. §§ 1512(c)(2) and 2; 18 U.S.C. § 1752(a)(1);

18 U.S.C. § 1752(a)(2); 40 U.S.C. § 5104(e)(2)(B); 40 U.S.C. § 5104(e)(2)(D); and 40 U.S.C.

§ 5104(e)(2)(G). ECF No. 181. On September 6, 2024, Tuck was convicted of Count Two,

charging violation of 18 U.S.C. § 1752(a)(1), based on a guilty plea entered pursuant to a plea

agreement. See ECF Nos. 213-214.

   III.      STATUTORY PENALTIES

          Kevin Tuck now faces sentencing on one misdemeanor count for violating 18 U.S.C.

§ 1752(a)(1). As noted by the plea agreement and the Presentence Report issued by the U.S.

Probation Office, he faces up to one year of imprisonment, a term of supervised release of not

more than one year, a fine of $100,000, restitution, and a mandatory $25 special assessment.




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   IV.       THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

   As the Supreme Court has instructed, the Court “should begin all sentencing proceedings by

correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007).

          The Presentence Report correctly sets forth the Guidelines calculations, PSR ¶¶ 117-126:

          Count Two: 18 U.S.C. § 1752(a)(1)

                 U.S.S.G. § 2B2.3              Base Offense Level                            4
                 U.S.S.G. § 2B2.3(b)(1)(A)     Trespass at Restricted Building              +2


          Total                                                                              6
          Acceptance of responsibility (U.S.S.G. § 3E1.1)                                   -2

          Total Adjusted Offense Level:                                                     4

See Plea Agreement at ¶ 4(A).

          Recent amendments to the Sentencing Guidelines for 2023 include a new guideline,

U.S.S.G. § 4C1.1, which provides for a two-level decrease in the offense level for offenders who

have no criminal history points and who meet certain additional criteria. As the PSR correctly

noted, § 4C1.1 does not apply in this case, because Tuck used “violence or credible threats of

violence in connection with the offense.” U.S.S.G. § 4C1.1(a)(3); see PSR ¶ 125.

          Courts in this district have defined violence as “[t]he use of physical force,” typically

“accompanied by fury, vehemence, or outrage” and “unlawfully exercised with the intent to harm,”

and a credible threat of violence as “a believable expression of an intention to use physical force

to inflict harm.” United States v. Bauer, 21-cr-386-2 (TNM), ECF No. 195 at 4-6; accord United

States v. Hernandez, 21-cr-455 (CKK), ECF No. 65 at 5. When examining whether the defendant’s

conduct posed a credible threat of violence, the court should consider the totality of circumstances

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surrounding that conduct, “including what the particular defendant being sentenced did; where he

was; what he was seeing; what a person would reasonably understand was the volatility of the

situation; the threat that whole situation would pose to others; the foreseeable harm of the situation;

and the consequences of the specific defendant’s individualized actions.” United States v.

Andrulonis, 23-cr-085 (BAH), Sentc’g Hrg. Tr. at 11-12. That the government did not charge

Kevin Tuck with personally attacking an officer is insufficient, standing alone, “to make him

eligible for the zero criminal history score offense-level reduction.” Id.

       Taken in context, Kevin Tuck’s actions on January 6 involved, at a minimum, a credible

threat of violence. He was at the forefront of several breaches of police lines: He stood opposite

police on the West Plaza, where he could see the crowd engaging in acts of violence against offices.

He then joined in efforts to overwhelm officers through the force of the mob, as he led his co-

defendants in overrunning a police line on the north side of the Capitol at 2:16 p.m. and then again

led their way through the Columbus Doors and a blaring alarm at 2:40 p.m. See Ex. B. His conduct

was no accident. His discussions in preparation for January 6 contemplated the use of violence,

including through preparation of communications equipment and “more ammo” in preparation for

“war.” He joined an unruly mob in the Senate Gallery while senators were in hiding. And after

January 6, he bragged about “storm[ing]” the Capitol on the same text thread where his son boasted

that he had “[f]ought the police.”

       Due to the unique nature of the January 6 mob, the harms caused by the January 6 riot, and

the significant need to deter future mob violence, the government submits that even if the Court

were to find that § 4C1.1 applies, the Court should nevertheless vary upwards by two levels to

address the reduction in offense level. Such treatment would recognize the unique nature of the


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criminal events of January 6, 2021, coupled with the overwhelming need to ensure future

deterrence, notwithstanding a person’s limited criminal history.

        Finally, to avoid unnecessary litigation, if the court declines to apply § 4C1.1, the

government requests that the Court make clear at sentencing that it would have imposed the same

sentence regardless of whether § 4C1.1 applies.3

        The U.S. Probation Office calculated Kevin Tuck’s criminal history as category I, which

is not disputed. PSR ¶ 129. Accordingly, based on the government’s calculation of the total

adjusted offense level, after acceptance of responsibility, at 4, Kevin Tuck’s Guidelines

imprisonment range is 0 to 6 months’ imprisonment. The plea agreement contains an agreed-upon

Guidelines range calculation that mirrors the calculation contained herein.

       Upward Variance

       After determining the defendant’s Guidelines range, a court then considers any departures

or variances. See U.S.S.G. § 1B1.1(a)-(c). Because Tuck’s Guidelines range does not capture the

unprecedented and uniquely harmful nature of his crimes, the government respectfully requests

that the Court vary upwards from the top of the Guidelines range.

       Kevin Tuck was an avid and willing participant in an unprecedented crime. He joined a

mob that threatened the safety of legislators and their staff, interrupted the certification of the 2020

Electoral College vote count, injured more than one hundred police officers, and resulted in more




3
  U.S.S.G. § 5C1.1 has also been amended with a new application note providing that if a
defendant receives an offense level reduction under §4C1.1 and either their applicable guideline
range is in Zone A or B of the Sentencing Table, or the guideline range overstates the seriousness
of the offense, imprisonment may not be appropriate. See U.S.S.G. § 5C1.1, comment. n. 10. The
government submits that for the same reasons that § 4C1.1 should not be applied in this case, a
sentence of imprisonment is appropriate notwithstanding Application Note 10 to § 5C1.1.
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than $2.9 million in losses. His offense targeted the peaceful transfer of power, an essential

government function, and one of the fundamental and foundational principles of our democracy.

Like every member of the mob, Kevin Tuck “endanger[ed] our democratic processes and

temporarily derail[ed] Congress’s constitutional work.” United States v. Brock, 94 F.4th 39, 59

(D.C. Cir. 2024). As Judge McFadden put it to another rioter, “[Y]ou and your fellow rioters were

responsible for substantially interfering with the certification, causing a multiple-hour delay,

numerous law enforcement injuries and the expenditure of extensive resources.” United States v.

Hale-Cusanelli, 21-cr-37 (TNM), Sent’g Tr. 9/22/22 at 86-87.

       But nothing in Kevin Tuck’s Guidelines calculation reflects these facts. Kevin Tuck would

face the same offense level if his crimes had not endangered the democratic process or interfered

with the peaceful transfer of power.4 There is no specific offense characteristic in the Guidelines

for attacking democracy or abandoning the rule of law. “And simply saying, yeah, I know I

trespassed, I trespassed, that’s not really capturing the impact of what that day meant when all of

those members of Congress met there to fulfill their constitutional duty.” United States v. Calhoun,

21-CR-116-DLF, Sent. Tr. at 85. So a sentence within Kevin Tuck’s Guidelines range here would

not “reflect the seriousness of the offense,” “promote respect for the law,” or “provide just

punishment for the offense.” 18 U.S.C. § 3553(a)(2)(A).



4
  The D.C. Circuit’s holding in United States v. Brock, 94 F.4th 39 (D.C. Cir. 2024), finding that
certain sentencing enhancements did not apply to the Congress’s counting and certification of the
electoral college votes, despite acknowledging that interference with this process “no doubt
endanger[ed] our democratic process and temporarily derail[ed] Congress’s constitutional work”
demonstrates that the Sentencing Commission failed to anticipate anything like the January 6 riot
when drafting the Guidelines. And the Supreme Court’s recent decision in United States v. Fischer,
603 U.S. 480 (2024) demonstrates that even the criminal code lacks the appropriate tools to fully
address the crimes of January 6. See Fischer, id. at 509 (Barrett, J., dissenting) (“Who could blame
Congress for [its] failure of imagination?”).
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        It is not hyperbole to call what happened on January 6 a crime of historic magnitude. As

judges of this district have repeatedly and clearly stated, January 6 was an unprecedented

disruption of the nation’s most sacred function—conducing the peaceful transfer of power “The

events that occurred at the Capitol on January 6th will be in the history books that our children

read, our children’s children read and their children’s children read. It’s part of the history of this

nation, and it’s a stain on the history of this nation.” United States v. Miller, 21-CR-75-RDM, Sent.

Tr., at 67.

        But just as the history books will describe the crimes of January 6, so will they tell the story

of how this nation responded. Future generations will rightly ask what this generation did to

prevent another such attack from occurring. The damage done to this country on January 6 must

be reflected in the sentences imposed on those who caused the damage—it must not be treated as

just another crime. As this Court recently put it, “[W]hat a dangerous precedent the attack on

January 6 set. What a Pandora’s Box it opened. We still don't [know] how corrosive it will prove

to be to our constitutional order, at least until we have reestablished the practice of a peaceful

transfer of power.” United States v. Sparks, 21-CR-87-TJK, Sent. Tr. at 94.

        Indeed, even before the Supreme Court’s decision in Fischer, judges of this Court gave

significant upward departures and/or variances in January 6 cases when they found the advisory

guideline range inadequate. See, e.g., United States v. Hale-Cusanelli, 21-CR-37-TNM, 9/22/22

Sent. Tr.; United States v. Christian Secor, 21-CR-157-TNM, 10/19/22 Sent. Tr.; United States v.

Hunter and Kevin Seefried, 21-CR-287-TNM. 10/24/22 Sent. Tr.; United States v. William

Watson, 21-CR-513-RBW, 3/9/23 Sent. Tr.; United States v. Riley Williams, 21-CR-618-ABJ,

3/23/23 Sent. Tr.; United States v. Hatchet Speed, 22-CR-244-TNM, 5/8/23 Sent. Tr.


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       Since Fischer, judges have similarly sentenced defendants to account for the disparity

between the guidelines and the actual context. Most recently, this Court varied upwards in the case

of Tuck’s co-defendant Paul Rae, stating at sentencing that his Guidelines range of 6-12 months

did not account for Rae’s planning and preparation with a large group, including for violence, or

his intent to obstruct the Electoral College certification. See United States v. Rae, 21-cr-378-TJK-

2 (sentencing Rae to 14 months’ incarceration).

       Likewise, in United States v. Sparks, 21-cr-87-TJK, this Court sentenced a defendant with

an advisory guidelines range of 15-21 months to 53 months’ imprisonment. In doing so, the Court

applied U.S.S.G. §§ 5K2.7 and 5K2.21 and noted that the jury had found that the defendant had

the corrupt intent to interfere with Congress. Because Sparks’ advisory guideline range was driven

by the § 231 conviction, that range did not “account for the defendant’s intent to obstruct, not just

police officers doing their duty under that statute, but a proceeding, or for the purposes of [U.S.S.G.

§] 5K2.7, a governmental function. Sentencing Tr., at 94-95. And “not any proceeding, but one

foundational to our country’s governance.” Id. at 93. The court found Sparks’ intent to “interfere

or obstruct with the electoral college vote certification . . . plays an important role in explaining

why” Sparks’ advisory guideline range did not fully account for his criminal conduct. Id. at 94.

       Other judges have recognized this disparity too. See United States v. Robertson, 21-cr-34-

CRC (imposing an upward departure because the conduct resulted in a significant disruption of

government); United States v. Dunfee, 23-cr-36-RBW (imposing an upward departure because the

guidelines no longer adequately captured the defendant’s intent to stop the peaceful transfer of

power). While the Supreme Court’s decision in Fischer has changed defendant’s advisory

Guideline range, “Fischer does not dictate the Court’s application of the 18 U.S.C. 3553(a) factors


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[because] the Court may still consider [defendant’s] serious conduct on January 6th, 2021 in its

entirety. To reduce [defendant’s] sentence . . . would require this Court to take a drastically

different view of [defendant’s] conduct.” United States v. Hostetter, 21-CR-392-RCL, ECF 507,

at 4-5 (cleaned up). Indeed, “Fischer does not mean that I cannot consider at sentencing evidence

that establishes that the defendant intended to obstruct Congress’ certification of the electoral vote

in determining whether . . . the resulting guideline range fully accounts for the criminal conduct.”

Sparks Sentencing Tr. at 95. See also United States v. Kelly, 21-CR-708-RCL, ECF 151, at 5

(“Nothing about Fischer or any hypothetical outcome of [defendant’s] appeal bears directly on the

severity of his conduct on January 6th . . . . Likewise, the outcome in Fischer would not dictate

the Court’s application of the sentencing factors prescribed in 18 U.S.C. § 3553(a)”); United States

v. Jensen, 21-CR-6-TJK, Sent. Tr. at 16 (“given the importance and the significance of the

proceeding of certifying the Electoral College votes, I would vary upward -- even if this

[sentencing enhancement] didn’t apply, I would vary upward when considering the nature of the

offense.”)

       Because the seriousness of Kevin Tuck’s crime is not adequately captured by the applicable

Guideline, an upward variance is warranted. An upward variance is appropriate when “the

defendant’s conduct was more harmful or egregious than the typical case represented by the

relevant Sentencing Guidelines range.” United States v. Murray, 897 F.3d 298, 308–09 (D.C. Cir.

2018) (cleaned up). While the Supreme Court’s decision in Fischer prompted the government to

dismiss the charge under 18 U.S.C. § 1512(c)(2) in this case, “Fischer does not dictate the Court’s

application of the 18 U.S.C. 3553(a) factors [because] the Court may still consider [defendant’s]

serious conduct on January 6th, 2021 in its entirety. To reduce [defendant’s] sentence . . . would


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require this Court to take a drastically different view of [defendant’s] conduct.” United States v.

Hostetter, 21-CR-392-RCL, ECF 507, at 4-5 (cleaned up). Indeed, “Fischer does not mean that

I cannot consider at sentencing evidence that establishes that the defendant intended to obstruct

Congress’ certification of the electoral vote in determining whether . . . the resulting guideline

range fully accounts for the criminal conduct.” Sparks Sentencing Tr. at 95. See also United States

v. Kelly, 21-CR-708-RCL, ECF 151, at 5 (“Nothing about Fischer or any hypothetical outcome of

[defendant’s] appeal bears directly on the severity of his conduct on January 6th . . . . Likewise,

the outcome in Fischer would not dictate the Court’s application of the sentencing factors

prescribed in 18 U.S.C. § 3553(a)”); United States v. Jensen, 21-CR-6-TJK, Sent. Tr. at 16 (“given

the importance and the significance of the proceeding of certifying the Electoral College votes, I

would vary upward -- even if this [sentencing enhancement] didn't apply, I would vary upward

when considering the nature of the offense.”)

       In past sentencings, this Court has made clear its view that January 6 was “corrosive … to

our constitutional order, at least until we have reestablished the practice of a peaceful transfer of

power.” Sparks Sent. Tr. at 94. Those were not merely empty words—they were a recognition of

the seriousness and unprecedented nature of the riot.

       Also unprecedented is the need for January 6 sentences to promote respect for the law and

deter future crime. See 18 U.S.C. § 3553(a)(2)(A), (B). The January 6 rioters went far beyond

merely breaking the law.

       In this case, the government submits that an upward variance of 4 months is warranted to

reach an appropriate sentence. Although Kevin Tuck stands convicted of only a misdemeanor

offense, his planning and preparation for January 6, including for the use of violence and deliberate


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disruption of the Electoral College certification, along with his efforts to work in concert with

others to achieve that goal, warrant a meaningful term of incarceration. Indeed, Kevin Tuck

worked in tandem with others at every steps as he breached the Capitol building and entered the

gallery of the Senate Chamber.

        As discussed below, this Court has sentenced defendants who acted with corrupt intent to

influence an official proceeding to around 48-57 months. While Kevin Tuck was not convicted of

obstructing the certification, the relevant conduct described above and in the Statement of Offense

demonstrate that he carried out his criminal actions with the intent to stop Congress from certifying

the Presidential Election—a necessary step in the peaceful transfer of power. And Kevin Tuck

came to D.C. prepared to take action through means of force and violence. This was not a righteous

act of petitioning government for redress of grievances—it was a deliberate act intended to

persuade government officials through the use of violence and intimidation.

   V.        SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

        In this case, sentencing is guided by 18 U.S.C. § 3553(a). As described below, on balance,

the Section 3553(a) factors weigh in favor of a lengthy term of incarceration.

        A.     Nature and Circumstances of the Offense

        As described detail in Section II of this memorandum, the nature and circumstances of

Kevin Tuck’s crimes threatened to create a constitutional crisis, were rife with violence and

credible threats of violence, and militate strongly in favor of a substantial sentence of incarceration.

Kevin Tuck’s actions were concerted and purposeful, aimed at halting the certification. Kevin

Tuck understood that Congress was meeting at the Capitol on January 6 to certify the electoral

vote, and he knew that Vice President Pence would be at the Capitol on January 6; indeed, he


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texted his family a detailed description of the procedure by which the Electoral College vote would

be certified. Nevertheless, in the lead-up to January 6, Kevin Tuck joined a group of men who

were undertaking extensive efforts to amass and direct force and violence against the Capitol. On

January 6, he personally joined in bringing those plans to fruition, working in concert with other

Proud Boys throughout the day to achieve his objective. And Kevin Tuck contributed to the

violence of the riot through coordinated efforts to breach police lines.

       Kevin Tuck’s statements both before and after January 6 demonstrate his intent to interfere

with the Electoral College certification and his willingness to engage in violence if necessary. In

December, Kevin Tuck texted his son about preparations for “war,” including the need to outfit

Proud Boys chapters with radio equipment in case of communications outages, and the need to

procure “More food” and “More Ammo.” Even after the FBI began investigating and arresting

January 6 rioters, including fellow Proud Boys, Kevin Tuck spoke resolutely about “winning,”

including through violence: “‘Stand back and stand by’ you will see that[.] Whether it’s violence

or whether it’s in the court system we will win.”

       The sentence imposed by this Court must reflect the seriousness of Kevin Tuck’s crimes.

       B. The History and Characteristics of the Defendant

       Kevin Tuck is 55 years old and lives in Apopka, Florida with his wife and adult daughter,

on the same street as his son and co-defendant, Nathaniel Tuck, and another adult daughter. Kevin

Tuck is currently employed as a manager of sales with a roofing company. On January 6, 2021,

and at the time of his arrest in this case, Kevin Tuck was an officer with the Windermere Police

Department in Windermere, Florida (“WPD”). According to a press release from the WPD

following his arrest and subsequent resignation, Tuck had been a member of the WPD since May


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of 2019 and had prior law enforcement experience with the Longwood Police Department for

approximately six years.5 According to the press release, Kevin Tuck traveled to Washington,

D.C. for the events of January 6 without notifying his chain of command at the WPD and he

initially denied being inside the Capitol when questioned at work following the events of the day.

       As of January 6, 2021, Kevin Tuck was a member of the “Space Coast” chapter of the

Proud Boys organization. Communications among the group routinely celebrated the use of

violence to obtain an objective. And the group’s discussions preparing for January 6 reflected the

same. When the time came, Kevin Tuck contributed to the violence at the Capitol both individually

and by working in concert with his compatriots. In the aftermath of the day’s events, he continued

to celebrate the violence that occurred, posing for photographs with fellow Proud Boys proudly

displaying a stolen American flag.

       Although Kevin Tuck’s Guidelines calculation does not reflect the application of any

criminal history points, the PSR identifies items that are relevant to the Court’s consideration. See

PSR ¶¶ 130-131.

       Kevin Tuck’s history and characteristics weigh in favor of a meaningful term of

incarceration.




5
  The PSR states that “[t]he timeframe for his employment is unknown as Mr. Tuck did not provide
this information and could not complete the presentence interview due to his temper.” PSR ¶ 151.

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       C.      The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

       As with the nature and circumstances of the offense, this factor supports a sentence of

incarceration. Kevin Tuck’s conduct on January 6 was the epitome of disrespect for the law,

particularly given his status at the time as a sworn police officer.

       Police officers are a central part of promoting and maintaining the rule of law in this

country. Kevin Tuck’s crimes do significant damage to the credibility of police officers in carrying

out this essential role. The attack on the U.S. Capitol building and grounds, and all that it involved,

was an attack on the rule of law itself. When Kevin Tuck, himself a police officer, joined a group

intent on deliberately resisting the police, entered the Capitol grounds, and repeatedly joined in

collective efforts to defy officers attempting to maintain order, it was abundantly clear—especially

to someone with Kevin Tuck’s law enforcement training and experience—that the police officers

were greatly outnumbered and exposed to violence of the mob. Kevin Tuck chose to disregard

their commands and engage in physical defiance of their efforts. And, in doing so, Kevin Tuck

knowingly heightened the risk to the officers.

       D.      The Need for the Sentence to Afford Adequate Deterrence

                                        General Deterrence

       A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C.§ 3553(a)(2)(B). The demands of general deterrence weigh strongly in favor of

incarceration, as they will for nearly every case arising out of the violent riot at the Capitol.

                                         Specific Deterrence

       The need for the sentence to provide specific deterrence to this particular defendant also

weighs heavily in favor of a lengthy term of incarceration.

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       Although Kevin Tuck has entered a guilty plea, he has not made meaningful statements of

remorse regarding his conduct on January 6. He lied to his employer, the WPD, denying his

involvement in the riot until after his arrest. He was uncooperative with the U.S. Probation Office

during his pre-sentence interview, as the PSR notes he “could not complete the presentence

interview due to his temper.” PSR ¶ 151.

       Kevin Tuck’s statements in the aftermath of the riot also demonstrate a lack of remorse.

He boasted to family members that he and his son had “[s]tormed the capital [sic],” and took credit

in texts for his co-defendant’s theft of an American flag from a Senate hallway (“We took the

flag”; “It’s our flag. The people’s flag.”). When he learned that his fellow Proud Boy Joe Biggs

had been arrested on January 20, 2021, he told his son he hoped Biggs “doesn’t tell them about

me.” Finally, when Kevin and Nathaniel Tuck discussed criminal charges filed against Proud Boys

in March 2021, Kevin Tuck alluded to the possibility of further political violence, stating,

“Whether it’s violence or whether it’s in the court system we will win.” Kevin Tuck’s continued

embrace of force and violence as a means of obtaining a political objective underscores the need

for deterrence in his case.

       The need for both general and specific deterrence is also especially strong because of Kevin

Tuck’s decision to target the Constitutionally-mandated certification of a democratic election and

his participation in a criminal collective. See Callanan v. United States, 364 U.S. 587, 593 (1961)

(noting that a “partnership in crime—presents a greater potential threat to the public than

individual delicts. Concerted action both increases the likelihood that the criminal object will be

successfully attained and decreases the probability that the individuals involved will depart from

their path of criminality”).


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       All of these factors weigh heavily in favor of an upward variance from the Guidelines

advisory range.

       E.      Unwarranted Sentencing Disparities

       Section 3553(a)(6) of Title 18 directs a sentencing court to “consider … the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct” (emphasis added). So long as the sentencing court “correctly calculate[s]

and carefully review[s] the Guidelines range, [it] necessarily [gives] significant weight and

consideration to the need to avoid unwarranted disparities” because “avoidance of unwarranted

disparities was clearly considered by the Sentencing Commission when setting the Guidelines

ranges.” Gall v. United States, 552 U.S. 38, 54 (2007).

       Section 3553(a)(6) does not limit the sentencing court’s broad discretion “to impose a

sentence sufficient, but not greater than necessary, to comply with the purposes” of sentencing. 18

U.S.C. § 3553(a). After all, the goal of minimizing unwarranted sentencing disparities in Section

3553(a)(6) is “only one of several factors that must be weighted and balanced,” and the degree of

weight is “firmly committed to the discretion of the sentencing judge.” United States v. Coppola,

671 F.3d 220, 254 (2d Cir. 2012). The “open-ended” nature of the Section 3553(a) factors means

that “different district courts may have distinct sentencing philosophies and may emphasize and

weigh the individual § 3553(a) factors differently; and every sentencing decision involves its own

set of facts and circumstances regarding the offense and the offender.” United States v. Gardellini,

545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have


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sentenced that defendant.” Id. at 1095. “As the qualifier ‘unwarranted’ reflects, this provision

leaves plenty of room for differences in sentences when warranted under the circumstances.”

United States v. Brown, 732 F.3d 781, 788 (7th Cir. 2013). 6 “When an offense is uniquely serious,

courts will consider the need to impose stiffer sentences that justify the risk of potential

disparities.” United States v. Mattea, 895 F.3d 762, 768–69 (D.C. Cir. 2018) (cleaned up).

       Although all the other defendants discussed below participated in the Capitol breach on

January 6, 2021, many salient differences explain the differing recommendations and sentences. 7

While no previously sentenced case contains the same balance of aggravating and mitigating

factors present here, this Court has sentenced others who had engaged in criminal conduct with

Kevin Tuck during the events of January 6, and their sentences are instructive in this case.

       Most recently, this Court varied upwards to sentence Kevin Tuck’s co-defendant Paul Rae

to 14 months’ incarceration, from an advisory Guidelines range of 6-12 months. United States v.

Rae, 21-cr-378-TJK-2. Rae was convicted on one misdemeanor count, in violation of 18 U.S.C.

§ 1752(a)(1), and one felony count of civil disorder in violation of 18 U.S.C. § 231. The Court

noted at sentencing that Rae’s “planning and coordination” with a large group in advance of and

during January 6 set him apart from other rioters who showed up solely with the intent to protest


6
  If anything, the Guidelines ranges in Capitol siege cases are more likely to understate than
overstate the severity of the offense conduct. See United States v. Knutson, D.D.C. 22-cr-31 (FYP),
Aug. 26, 2022 Sent. Hrg. Tr. at 24-25 (“If anything, the guideline range underrepresents the
seriousness of [the defendant’s] conduct because it does not consider the context of the mob
violence that took place on January 6th of 2021.”) (statement of Judge Pan).
7
  A routinely updated table providing additional information about the sentences imposed on other
Capitol breach defendants is available here: https://www.justice.gov/usao-dc/capitol-breach-cases.
To reveal that table, click on the link “SEE SENTENCES HANDED DOWN IN CAPITOL
BREACH CASES.” The table shows that imposition of the government’s recommended sentence
in this case would not result in an unwarranted sentencing disparity.
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and ended up getting “caught in the moment.” The Court also pointed to a comment Rae had made

on January 6—“All I want to do is be violent and have Trump as my president”—as linking his

violent conduct with the Electoral College proceeding occurring inside the Capitol that day.

       Like Rae, Tuck planned for and coordinated with other Proud Boys, including his son, in

advance of January 6 and throughout the day. He also exhibited a specific intent to interfere with

the Electoral College certification. He was well familiar with the details of the certification

procedure, as his text messages to family in December 2020 demonstrate, and he spoke in the lead-

up to January 6 of preparations for “war.”

       Favorably distinguishable from Kevin Tuck, Rae toppled an in-ground metal fence behind

which police had formed a line, which is why Rae was convicted of a felony and faced a felony

sentence. However, Kevin Tuck did repeated harness the force of his codefendants and the mob to

advance on and ultimately gain access to the Capitol building. This factor weighs tilts the balance

toward a sentence resembling Rae’s. And Tuck was a police officer at the time of January 6, 2021,

which is a significant aggravating factor that was not present in Rae’s case. In Tuck’s case, the

government’s recommendation of 10 months incarceration to account for the totality of Tuck’s

conduct and circumstances is appropriate and would not create an unwarranted sentencing

disparity with Rae.

       This case warrants a higher sentence than the one this Court imposed in United States v.

Healion, No. 23-cr-230 (TJK): 100 days’ incarceration. Healion was a member of the MOSD

group chats who interfered with police on January 6 by pulling a bike rack from officers. His own

messages prior to January 6, however, did not reflect the same kind of planning or purposeful

intent as in Kevin Tuck’s case. Kevin Tuck messaged with his son in December 2020 about the


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need for Proud Boys chapters to procure radio communications equipment and supplies, the day

after he sent a message detailing the certification procedure to be followed on January 6. Unlike

Kevin Tuck, Healion was not a sworn police officer on January 6, 2021.

           Most significantly, however, Kevin Tuck’s conduct warrants a higher sentence than

Healion’s because Tuck acted with the deliberate purpose of disrupting to the Electoral College

certification and police’s efforts to defend it, including by embracing violence as a means to

achieve a political objective. Kevin Tuck joined with his codefendants to use violence,

intimidation, and credible threats of violence on January 6, as discussed above. Indeed, Kevin

Tuck’s efforts to force his way through the Columbus Doors in a stack formation with his

codefendants fundamentally places Kevin Tuck’s conduct in a more serious category than that of

Healion. And once inside, Kevin Tuck traveled to the Senate Chamber—where Members of

Congress were supposed to be engaging in the very certification that Kevin Tuck aimed to stop.

After January 6, Kevin Tuck continued to advocate for violence as an acceptable means to achieve

political ends, telling his son in March 2021, “Whether it’s violence or whether it’s in the court

system we will win.”

     VI.      RESTITUTION

           The Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579,

96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with discretionary

authority to order restitution to victims of most federal crimes.” United States v. Papagno, 639

F.3d 1093, 1096 (D.C. Cir. 2011); see 18 U.S.C. § 3663(a)(1)(A) (Title 18 offenses subject to

restitution under the VWPA). 8 Generally, restitution under the VWPA must “be tied to the loss



8
    The Mandatory Victims Restitution Act, Pub. L. No. 104-132 § 204, 110 Stat. 1214 (codified at
                                               35
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caused by the offense of conviction,” Hughey v. United States, 495 U.S. 411, 418 (1990); identify

a specific victim who is “directly and proximately harmed as a result of” the offense of conviction,

18 U.S.C. § 3663(a)(2); and is applied to costs such as the expenses associated with recovering

from bodily injury, 18 U.S.C. § 3663(b). At the same time, the VWPA also authorizes a court to

impose restitution “in any criminal case to the extent agreed to by the parties in a plea agreement.”

See 18 U.S.C. § 3663(a)(3). United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008).

         Those principles have straightforward application here. The parties agreed, as permitted

under 18 U.S.C. § 3663(a)(3), that Tuck must pay $500 in restitution, which reflects in part the

role Tuck played in the riot on January 6. 9 Plea Agreement at ¶ 11. As the plea agreement reflects,

the riot at the United States Capitol had caused “approximately $2,923,080.05” in damages, a

figure based on loss estimates supplied by the Architect of the Capitol and other governmental

agencies as of July 2023. Id. Tuck’s restitution payment must be made to the Clerk of the Court,

who will forward the payment to the Architect of the Capitol and other victim entities. See PSR

¶ 187.

    VII.    FINE

         The defendant’s conviction for violations of 18 U.S.C. § 1752(a)(1) subjects him to a

statutory maximum fine of $100,000. See 18 U.S.C. § 3571(b). In determining whether to impose



18 U.S.C. § 3663A), “requires restitution in certain federal cases involving a subset of the crimes
covered” in the VWPA, Papagno, 639 F.3d at 1096, including crimes of violence, “an offense
against property … including any offense committed by fraud or deceit,” “in which an identifiable
victim or victims has suffered a physical injury or pecuniary loss.” 18 U.S.C. § 3663A(c)(1).
9
  Unlike under the Sentencing Guidelines for which (as noted above) the government does not
qualify as a victim, see U.S.S.G. § 3A1.2 cmt. n.1, the government or a governmental entity can
be a “victim” for purposes of the VWPA. See United States v. Emor, 850 F. Supp.2d 176, 204 n.9
(D.D.C. 2012) (citations omitted).
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a fine, the sentencing court should consider the defendant’s income, earning capacity, and financial

resources. See 18 U.S.C. § 3572(a)(1); See U.S.S.G. § 5E1.2(d). The sentencing guidelines provide

for a fine in all cases, except where the defendant establishes that he is unable to pay and is not

likely to become able to pay any fine. U.S.S.G. § 5E1.2(a), (e) (2023).

       The burden is on the defendant to show present and prospective inability to pay a fine. See

United States v. Gewin, 471 F.3d 197, 203 (D.C. Cir. 2006) (explaining that “it makes good sense

to burden a defendant who has apparently concealed assets” to prove that “he has no such assets

and thus cannot pay the fine”); United States v. Lombardo, 35 F.3d 526, 528 (11th Cir. 1994).

       Here, the defendant has not shown an inability to pay, thus pursuant to the considerations

outlined in U.S.S.G. § 5E1.2(d), the Court has authority to impose a fine. § 5E1.2(a), (e). The

guidelines fine range here is $500 to $9,500. U.S.S.G. § 5E1.2(c)(3).

   VIII. CONCLUSION

       For the reasons set forth above, the government recommends that the Court impose a

sentence of 10 months’ imprisonment, 12 months’ supervised release, $500 in restitution, and the

$25 special assessment.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY


                                      BY:      /s/ Jason McCullough
                                              JASON B.A. MCCULLOUGH
                                              DC Bar No. 998006; NY Bar No. 4544953
                                              MONIKA (ISIA) JASIEWICZ
                                              D.C. Bar No. 1024941
                                              Assistant United States Attorneys
                                              601 D Street NW
                                              Washington, DC 20530

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                              (202) 858-7233
                              isia.jasiewicz@usdoj.gov




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